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                                            UNITED STATES DISTRICT COURT
                                                                               for the
                                                                        District of Colorado

             In the Matter of the Search of
 (Briefly describe the property to be searched or identify the person       )      Case No. 19-sw-6175-MEH
 by name and address)
 5165 Copper Drive, Colorado Springs, CO 80918,                             )
 more fully described in Attachment A, attached                             )
 hereto, and to include all out buildings and vehicles                      )
 located thereon.                                                           )
                                                                            )
                                                                            )

                                               APPLICATION FOR A SEARCH WARRANT

        I, Jason T. McMillen, a federal law enforcement officer or an attorney for the government, request a search warrant and
state under penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the State and District of Colorado (identify the person or describe property to be searched and give its location):

          SEE “ATTACHMENT A”, which is attached to and incorporated in this Application and Affidavit

          The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

          SEE “ATTACHMENT B”, which is attached to and incorporated in this Application and Affidavit

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    X evidence of a crime;
                    X contraband, fruits of crime, or other items illegally possessed;
                    X property designed for use, intended for use, or used in committing a crime;
                          a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of 18             U.S.C. §§ 2252 and 2252A , and the application is based on these facts:

          X Continued on the attached affidavit, which is incorporated by reference.
              Delayed notice of       days (give exact ending date if more than 30 days:                                     ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                     s/ Jason T. McMillen
                                                                                                         Applicant’s signature

                                                                                        JASON T. MCMILLEN, FBI Special Agent
                                                                                                       Printed name and title

Sworn to before me and:              signed in my presence.
                                     submitted, attested to, and acknowledged by reliable electronic means.

Date: 11/18/2019
                                                                                                         Judge’s signature

City and state: Denver, Colorado                                                  Michael E. Hegarty, U.S. Magistrate Judge
                                                                                                         Printed name and title
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                                      ATTACHMENT A

                   DESCRIPTION OF LOCATION TO BE SEARCHED

The Subject Premises is located at 5165 Copper Drive, Colorado Springs, CO 80918. The

Subject Premises is more particularly identified as tan and brown ranch style single-family

residence with the number “5165” located to the right of the garage. The residence is shown

below:




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                                       ATTACHMENT B

              DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

The following items, located within the residence at 5165 Copper Drive, Colorado Springs, CO
80918 that constitute evidence of the commission of, contraband, the fruits of crime, or
instrumentalities of violations of Title 18, United States Code, Sections 2252(a)(1), (2), and (4)
and 2252A(a)(1), (2), (3), and (5) (hereinafter “Subject Offenses”):

1. Images or visual depictions of child pornography.

2. Records and information containing child erotica, including texts, images and visual
   depictions of child erotica.

3. Any and all information, notes, software, documents, records, or correspondence, in any
   format and medium, pertaining to violations of the Subject Offenses:

4. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning communications about child pornography or sexual activity with or
   sexual interest in minors.

5. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning Internet activity reflecting a sexual interest in minors or child
   pornography.

6. Any and all information, notes, software, documents, records, or correspondence, in any form
   and medium pertaining to any minor who is, or appears to be, the subject of any visual
   depiction of child pornography, child erotica, sexual activity with other minors or adults, or
   of sexual interest, or that may be helpful in identifying any such minors.

7. Any and all address books, names, and lists of names and addresses of individuals who may
   have been contacted by use of the computer or by other means for the purpose of committing
   the Subject Offenses:

8. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning membership in online groups, clubs, or services that provide or make
   accessible child pornography.

9. Any and all cameras, film, videotapes or other photographic equipment that constitute
   evidence of the commission of, contraband, the fruits of crime, or instrumentalities of the
   Subject Offenses.

10. Any and all information, records, documents, invoices and materials, in any format or
    medium, that concern any accounts with an Internet Service Provider pertaining to the
    Subject Offenses.


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11. Any and all information, records, documents, invoices and materials, in any format or
    medium, that concern e-mail accounts, online storage, or other remote computer storage
    pertaining to the Subject Offenses.

12. Any and all information, documents, records, photos, videos, or correspondence, in any
    format or medium, pertaining to occupancy or ownership of the premises and use or
    ownership of computer equipment found in the premises, or that aid in the identification of
    persons involved in the Subject Offenses.

13. Credit cards, credit card information, bills and payment records pertaining to violations of the
    Subject Offenses.

14. Information about usernames or any online accounts or email addresses that include
    “jz0676”, JayzBaller17@gmail.com, “Jay Z”, the use of Comcast and Sprint, or the IP
    address 2600:1:9502:77ae:bd38:61f7:d889:c128

15. Computer(s), digital storage media, or digital storage devices, any physical object upon
    which computer data can be recorded, computer hardware, computer software, servers,
    computer related documentation, computer passwords and data security devices, gaming
    devices, tablets, flash drives, volatile data, digital communications devices, cellular
    telephones, cameras, videotapes, video recording devices, video recording players, and video
    display monitors, digital input and output devices such as keyboards, mouse(s), scanners,
    printers, monitors, electronic media and network equipment, modems, routers, connection
    and power cords, and external or connected devices used for accessing computer storage
    media that was used to commit or facilitate commissions of the Subject Offenses.

16. For any computer, computer hard drive, or other physical object upon which computer data
    can be recorded (hereinafter, COMPUTER) that is called for by this warrant, or that might
    contain items otherwise called for by this warrant:

       a. evidence of who used, owned, or controlled the COMPUTER at the time the items
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, calendars,
          browsing history, user profiles, e-mail, e-mail contacts, "chat" or instant messaging
          logs, photographs, and correspondence;

       b. evidence of software that may allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;



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      e. evidence of counter-forensic programs (and associated data) that are designed to
         eliminate data from the COMPUTER;

      f. evidence of how and when the COMPUTER was used or accessed to determine the
         chronological context of computer access, use, and events relating to crime under
         investigation and to the computer user;

      g. records of or information about Internet Protocol addresses used by the COMPUTER,
         including IP address 2600:1:9502:77ae:bd38:61f7:d889:c128;

      h. information about usernames or any online accounts or email addresses that include
         “jz0676”, JayzBaller17@gmail.com, “Jay Z”;

      i. evidence indicating the computer user’s state of mind as it relates to the crime under
         investigation, namely crimes involving child exploitation and child pornography;

      j. passwords, encryption keys, and other access devices that may be necessary to access
         the COMPUTER;

      k. documentation and manuals that may be necessary to access the COMPUTER or to
         conduct a forensic examination of the COMPUTER;

      l. contextual information necessary to understand the evidence described in this
         attachment;

      m. volatile data necessary to preserve evidence prior to powering-off and unplugging a
         running computer.

      n. images and visual depictions of child pornography;

      o. records and information containing child erotica, including texts, images and visual
         depictions of child erotica;

      p. any and all information, notes, software, documents, records, or correspondence, in
         any format and medium, pertaining to the Subject Offenses;

      q. any and all information, notes, documents, records, or correspondence, in any format
         or medium, concerning communications about child pornography or sexual activity
         with or sexual interest in minors;

      r. items otherwise described above in paragraphs 1- 16 of this Attachment B.

      s. Executing law enforcement personnel are authorized to depress the fingerprints
         and/or thumbprints of persons reasonably believed to be the user(s) of the Device
         onto the Touch ID or fingerprint sensor of any Apple iPhone, iPad, or other Apple
         brand device, or other device that has a fingerprint sensor, in order to gain access to


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           the contents of any such device. Law enforcement personnel may also depress the
           fingerprints and/or thumbprints of persons reasonably believed to be the user(s) of the
           Device in order to gain access to applications on the device that may be locked with a
           fingerprint or thumbprint.

DEFINITIONS:

17. As used above, the terms "records" and "information" include all of the foregoing items of
    evidence in whatever form and by whatever means they may have been created or stored,
    including any form of computer or electronic storage (such as hard disks or other media that
    can store data); any handmade form (such as writing, drawing, painting); any mechanical
    form (such as printing or typing); and any photographic form (such as microfilm, microfiche,
    prints, slides, negatives, videotapes, motion pictures, or photocopies).

18. “Child Pornography” is defined in 18 U.S.C. § 2256(8), which includes as any visual
    depiction of sexually explicit conduct involving the use of a minor; a digital image, computer
    image, or computer-generated image that is, or is indistinguishable from that of a minor
    engaged in sexually explicit conduct; or a visual depiction that has been created, adapted, or
    modified to appear than an identifiable minor is engaging in sexually explicit conduct.

19. “Visual depiction” includes prints, copies of visual images, developed and undeveloped film
    and videotape, and data stored on computer disk or by electronic means, which is capable of
    conversion into a visual image. See 18 U.S.C. § 2256(5).

20. “Child Erotica” means materials or items that are sexually arousing to persons having a
    sexual interest in minors but that are not, in and of themselves, obscene or that do not
    necessarily depict minors in sexually explicit poses or positions; this also includes texts or
    discussions regarding minors engaged in sexual acts or conduct.

21. As used above, the terms “computers” or “digital storage media” or “digital storage devices”
    may be used interchangeably, and are intended to include any physical object upon which
    computer data can be recorded as well as all types of electronic, magnetic, optical,
    electrochemical, or other high speed data processing devices capable of performing logical,
    arithmetic, or storage functions, including desktop and laptop computers, mobile phones,
    tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy
    disks, flash memory, CDs, DVDs, and other magnetic or optical storage media.




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                                           AFFIDAVIT

I, JASON T.MCMILLEN, being duly sworn, hereby depose and state that the following is true to
the best of my information, knowledge, and belief:

                       INTRODUCTION AND AGENT BACKROUND

1. I am a Special Agent of the Federal Bureau of Investigation, and have been since 2010. I am
   currently assigned to the Denver FBI, and specifically to the Southern Colorado Safe Streets
   Task Force. I have received training in Crimes Against Children investigations and am
   familiar with child pornography investigations and the Innocent Images National Initiative.
   As part of my duties, I investigate criminal violations relating to child exploitation and child
   pornography, including violations pertaining to the illegal production, distribution, receipt
   and possession of child pornography, in violation of Title 18, United States Code, Sections
   2251, 2252, and 2252A. I have received training and instruction in the field of investigation
   of child pornography and have had the opportunity to participate in investigations relating to
   the sexual exploitation of children. As part of my training and experience, I have reviewed
   images containing child pornography in a variety of formats (such as digital still images and
   video images) and media (such as digital storage devices, the Internet, and printed images).

 2. This affidavit is submitted in support of an application for a search warrant for the place
    described in Attachment A (hereinafter “Subject Premises,”), and the computer(s) located
    therein, there being probable cause to believe that located in the place described in
    Attachment A are items described in Attachment B, being evidence, fruits, and
    instrumentalities of violations of Title 18, United States Code, Sections 2252(a)(1), (2), and
    (4) and 2252A(a)(1), (2), (3), and (5).

3. Because this affidavit is being submitted for the limited purpose of securing a search warrant,
   I have not included each and every fact known to me concerning this investigation. I have
   set forth facts that I believe are necessary to establish probable cause to believe that evidence,
   fruits, and instrumentalities of violations of Title 18, United States Code, Sections 2252 and
   2252A are presently located at the Subject Premises.

4. The information contained within the affidavit is based on my personal observations, training
   and experience, as well as information imparted to me by other law enforcement officials and
   witnesses involved in this investigation.

                                    RELEVANT STATUTES

5. This investigation concerns alleged violations of 18 U.S.C. Sections 2252 and 2252A,
   relating to material involving the sexual exploitation of minors.
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6. 18 U.S.C. Sections 2252 and 2252A prohibit a person from knowingly possessing or
   accessing sexually explicit images (child pornography) with the intent to view them as well
   as transporting, receiving, distributing or possessing in interstate or foreign commerce, or by
   using any facility or means of interstate or foreign commerce, any visual depiction of minors
   engaging in sexually explicit conduct (child pornography).

                                         DEFINITIONS

7. The following definitions apply to this Affidavit and Attachment B to this Affidavit.

8. “Child Pornography” includes the definition in 18 U.S.C. § 2256(8) (any visual depiction of
   sexually explicit conduct where (a) the production of the visual depiction involved the use of
   a minor engaged in sexually explicit conduct, (b) the visual depiction is a digital image,
   computer image, or computer-generated image that is, or is indistinguishable from, that of a
   minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,
   adapted, or modified to appear that an identifiable minor is engaged in sexually explicit
   conduct).

9. “Visual depictions” includes prints, copies of visual images, developed and undeveloped film
   and videotape, and data stored on computer disk or by electronic means, which is capable of
   conversion into a visual image See 18 U.S.C. § 2256(5).

10. “Child Erotica” means materials or items that are sexually arousing to persons having a
    sexual interest in minors but that are not, in and of themselves, obscene or that do not
    necessarily depict minors in sexually explicit poses or positions.

11. “IP Address” means Internet Protocol address, which is a unique numeric address used by
    computers on the Internet. Every computer attached to the Internet must be assigned an IP
    address so that Internet traffic sent from and directed to that computer may be directed
    properly from its source to its destination. Most Internet service providers control a range of
    IP addresses. Some computers have static—that is, long-term—IP addresses, while other
    computers have dynamic—that is, frequently changed—IP addresses.

12. “Internet” means a global network of computers and other electronic devices that
    communicate with each other. Due to the structure of the Internet, connections between
    devices on the Internet often cross state and international borders, even when the devices
    communicating with each other are in the same state.

13. In this affidavit, the terms “computers” or “digital storage media” or “digital storage devices”
    may be used interchangeably, and are intended to include any physical object upon which
    computer data can be recorded as well as all types of electronic, magnetic, optical,
    electrochemical, or other high speed data processing devices capable of performing logical,
    arithmetic, or storage functions, including desktop and laptop computers, mobile phones,
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    tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy
    disks, flash memory, CDs, DVDs, and other magnetic or optical storage media.

                             SEIZURE AND SEARCH OF COMPUTERS

 14. As described above and in Attachment B, I submit that if computers or storage media are
     found at the Subject Premises, there is probable cause to search and seize those items for the
     reasons stated below. Some of these electronic records might take the form of files,
     documents, and other data that is user-generated. Some of these electronic records, as
     explained below, might take a form that becomes meaningful only upon forensic analysis.
     They may be seized and searched on-scene, and/or searched off-scene in a controlled
     environment.

 15. For example, based on my knowledge, training, and experience, I know that a powered-on
     computer maintains volatile data. Volatile data can be defined as active information
     temporarily reflecting a computer's current state including registers, caches, physical and
     virtual memory, network connections, network shares, running processes, disks (floppy, tape
     and/or CD-ROM), and printing activity. Collected volatile data may contain such
     information as opened files, connections to other computers, passwords used for encryption,
     the presence of anti-forensic tools, or the presence of programs loaded in memory that would
     otherwise go unnoticed. Volatile data and its corresponding evidentiary value is lost when a
     computer is powered-off and unplugged.

 16. Based on my knowledge, training, and experience, I know that computer files or remnants of
     such files can be recovered months or even years after they have been downloaded onto a
     storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a storage
     medium can be stored for years at little or no cost. Even when files have been deleted, they
     can be recovered months or years later using forensic tools. This is so because when a
     person “deletes” a file on a computer, the data contained in the file does not actually
     disappear; rather, that data remains on the storage medium until it is overwritten by new data.
     Therefore, deleted files, or remnants of deleted files, may reside in free space or slack
     space—that is, in space on the storage medium that is not currently being used by an active
     file—for long periods of time before they are overwritten. In addition, a computer’s
     operating system may also keep a record of deleted data in a “swap” or “recovery” file.

 17. Also, again based on my training and experience, wholly apart from user-generated files,
     computer storage media contain electronic evidence of how a computer has been used, what
     it has been used for, and who has used it. This evidence can take the form of operating
     system configurations, artifacts from operating system or application operation, file system
     data structures, virtual memory “swap” or paging files, and shadow copies of previous
     versions of systems or files, or paging files. Computer users typically do not erase or delete
     this evidence because special software is typically required for that task. However, it is

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    technically possible to delete this information. Data on the storage medium not currently
    associated with any file can provide evidence of a file that was once on the storage medium
    but has since been deleted, edited, moved, or show a deleted portion of a file (such as a
    paragraph that has been deleted from a word processing file). Web browsers, e-mail
    programs, and chat programs store configuration information on the storage medium that can
    reveal information such as online nicknames and passwords. Operating systems can record
    additional information, such as the attachment of peripherals, the attachment of USB flash
    storage devices or other external storage media, and the times the computer was in use.
    Computer file systems can record information about the dates files were created and the
    sequence in which they were created.

 18. As further described in Attachment B, this application seeks permission to locate not only
     computer files that might serve as direct evidence of the crimes described on the warrant, but
     also for evidence that establishes how computers were used, why they were used, the purpose
     of their use, and the purposes to which they were put, who used them, the state of mind of the
     user(s), and when they were used.

 19. The monitor and printer are also essential to show the nature and quality of the images or
     files that the system can produce. In addition, the analyst needs all assisting software
     (operating systems or interfaces, and hardware drivers) and any applications software, which
     may have been used to create the data (whether stored on hard drives or on external media),
     as well as all related instructional manuals or other documentation and security devices.
     Moreover, searching computerized information for evidence or instrumentalities of crime
     commonly requires the seizure of the entire computer’s input/output periphery devices
     (including related documentation, passwords and security devices) so that a qualified expert
     can accurately retrieve the system’s data in a controlled environment.

 20. The computer and its storage devices, the mouse, the monitor, keyboard, printer, modem and
     other system components are also used as instrumentalities of the crime to operate the
     computer to commit offenses involving the sexual exploitation of minors. Devices such as
     modems and routers can contain information about dates, IP addresses, MAC addresses,
     frequency, and computer(s) used to access the Internet or to otherwise commit the crimes
     described herein. The computer equipment may also have fingerprints on them indicating the
     user of the computer and its components.

 21. Information or files related to the crimes described herein are often obtained from the
     Internet or the cellular data networks using application software which often leaves files, logs
     or file remnants which would tend to show the identity of the person engaging in the conduct
     as well as the method of location or creation of the images, search terms used, exchange,
     transfer, distribution, possession or origin of the files. Files that have been viewed via the
     Internet are sometimes automatically downloaded into a temporary Internet directory or
     “cache.” The browser often maintains a fixed amount of hard drive space devoted to these

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    files, and the files are only overwritten as they are replaced with more recently viewed
    Internet pages or if a user takes steps to delete them. Thus, the ability to retrieve residue of
    an electronic file from a hard drive depends less on when the file was downloaded or viewed
    than on a particular user’s operating system, storage capacity, and computer habits.

 22. “User attribution” evidence can also be found on a computer and is analogous to the search
     for “indicia of occupancy” while executing a search warrant at a residence. For example,
     registry information, configuration files, user profiles, e-mail, e-mail address books, “chat,”
     instant messaging logs, photographs, videos, and correspondence (and the data associated
     with the foregoing, such as file creation and last accessed dates) may be evidence of who
     used or controlled the computer or storage medium at a relevant time. For example, your
     Affiant knows from training and experience that persons trading in, receiving, transporting,
     distributing or possessing images involving the sexual exploitation of children or those
     interested in the firsthand sexual exploitation of children often communicate with others
     through correspondence or other documents which could tend to identify the origin and
     possessor of the images as well as provide evidence of a person's interest in child
     pornography or child sexual exploitation. Further, in finding evidence of how a computer
     was used, the purpose of its use, who used it, and when, sometimes it is necessary to
     establish that a particular thing is not present on a storage medium. For example, the
     presence or absence of counter-forensic programs or anti-virus programs (and associated
     data) may be relevant to establishing the user’s intent.

 23. Your Affiant knows from training and experience that digital software or hardware exists that
     allows persons to share digital access over wired or wireless networks allowing multiple
     persons to appear on the Internet from the same IP address. Examination of these items can
     reveal information about the authorized or unauthorized use of Internet connection at the
     residence.

 24. Searching computer(s) for the evidence described in the attachment may require a range of
     data analysis techniques. For example, information regarding user attribution or Internet use
     is located in various operating system log files that are not easily located or reviewed. Or, a
     person engaged in criminal activity will attempt to conceal evidence of the activity by
     “hiding” files or giving them deceptive names. As explained above, because the warrant
     calls for records of how a computer has been used, what it has been used for, and who has
     used it, it is exceedingly likely that it will be necessary to thoroughly search storage media to
     obtain evidence, including evidence that is not neatly organized into files or documents. Just
     as a search of a premises for physical objects requires searching the entire premises for those
     objects that are described by a warrant, a search of this premises for the things described in
     this warrant will likely require a search among the data stored in storage media for the things
     (including electronic data) called for by this warrant. Additionally, it is possible that files
     have been deleted or edited, but that remnants of older versions are in unallocated space or


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    slack space. This, too, makes it exceedingly likely that in this case it will be necessary to use
    a multitude of techniques, both on and off-scene, including more thorough techniques.

 25. Furthermore, because there is probable cause to believe that the computer and its storage
     devices are all instrumentalities of crimes involving child exploitation, they should all be
     seized as such.

 26. Based upon my knowledge, training and experience, I know that a thorough search for
     information stored in digital storage media requires a variety of techniques, that often
     includes both on-site seizure and search as well as a more thorough review off-site review in
     a controlled environment. This variety of techniques is required, and often agents must seize
     most or all storage media to be searched on-scene and/or later in a controlled environment.
     These techniques are often necessary to ensure the accuracy and completeness of data
     recorded on the storage media, and to prevent the loss of the data either from accidental or
     intentional destruction.

 27. For example, the search procedure of electronic data contained in computer hardware,
     computer software, and/or memory storage devices may include the following on-site
     techniques (the following is a non-exclusive list, as other on-site search procedures may be
     used):

                a. On-site triage of computer systems to determine what, if any, peripheral
                   devices or digital storage units have been connected to such computer
                   systems, a preliminary scan of image files contained on such systems and
                   digital storage devices to help identify any other relevant evidence or potential
                   victims, and a scan for encryption software;

                b. On-site copying and analysis of volatile memory, which is usually lost if a
                   computer is powered down, and may contain information about how the
                   computer is being used, by whom, when, and may contain information about
                   encryption, virtual machine software (virtual operating systems that are lost if
                   the computer is powered down or encrypted),;

                c. On-site forensic imaging of any computers may be necessary for computers or
                   devices that may be partially or fully encrypted, in order to preserve
                   unencrypted electronic data that may, if not immediately imaged on-scene,
                   become encrypted and accordingly unavailable for any examination.

 28. The search procedure of electronic data contained in computer hardware, computer software,
     and/or memory storage devices may include off-site techniques since it is often necessary
     that some computer equipment, peripherals, instructions, and software be seized and
     examined off-site and in a controlled environment. This is true because of the following:

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      a. The nature of evidence. As noted above, not all evidence takes the form of
         documents and files that can be easily viewed on site. Analyzing evidence of how,
         when and why a computer has been used, by whom, what it has been used for,
         requires considerable time, and taking that much time on premises could be
         unreasonable. Also, because computer evidence is extremely vulnerable to tampering
         and destruction (both from external sources and from code embedded in the system as
         a “booby-trap”), the controlled environment of a laboratory may be essential to its
         complete and accurate analysis. Searching for and attempting to recover any deleted,
         hidden, or encrypted data may be required to determine whether data falls within the
         list of items to be seized as set forth herein (for example, data that is encrypted and
         unreadable may not be returned unless law enforcement personnel have determined
         that the data is not (1) an instrumentality of the offenses, (2) a fruit of the criminal
         activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of child
         exploitation offenses).

      b. The volume of evidence and time required for an examination. Storage media can
         store the equivalent of millions of pages of information. Additionally, a suspect may
         try to conceal criminal evidence; he or she might store it in random order with
         deceptive file names. This may require searching authorities to peruse all the stored
         data to determine which particular files are evidence or instrumentalities of crime.
         Analyzing evidence of how a computer has been used, what it has been used for, and
         who has used it requires considerable time, and taking that much time on premises
         could be unreasonable. As explained above, because the warrant calls for forensic
         electronic evidence, it is exceedingly likely that it will be necessary to thoroughly
         examine storage media to obtain evidence. Reviewing information for things
         described in the warrant can take weeks or months, depending on the volume of data
         stored, and would be impractical and invasive to attempt on-site.

      c. Technical requirements. Computers can be configured in several different ways,
         featuring a variety of different operating systems, application software, and
         configurations. Therefore, searching them sometimes requires tools or knowledge
         that might not be present on the search site. The vast array of computer hardware and
         software available makes it difficult to know before a search what tools or knowledge
         will be required to analyze the system and its data on-site. However, taking the
         storage media off-site and reviewing it in a controlled environment will allow its
         examination with the proper tools and knowledge.

      d. Variety of forms of electronic media. Records sought under this warrant could be
         stored in a variety of storage media formats that may require off-site reviewing with
         specialized forensic tools.



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        e. Need to review evidence over time and to maintain entirety of evidence. Your
           Affiant recognizes the prudence requisite in reviewing and preserving in its original
           form only such records applicable to the violations of law described in this Affidavit
           and in Attachment B in order to prevent unnecessary invasion of privacy and
           overbroad searches. Your Affiant advises it would be impractical and infeasible for
           the Government to review the mirrored images of digital devices that are copied as a
           result of a search warrant issued pursuant to this Application during a single analysis.
           Your Affiant has learned through practical experience that various pieces of evidence
           retrieved from digital devices in investigations of this sort often have unknown
           probative value and linkage to other pieces of evidence in the investigation until they
           are considered within the fluid, active, and ongoing investigation of the whole as it
           develops. In other words, the weight of each individual piece of the data fluctuates
           based upon additional investigative measures undertaken, other documents under
           review and incorporation of evidence into a consolidated whole. Analysis is content-
           relational, and the importance of any associated data may grow whenever further
           analysis is performed. The full scope and meaning of the whole of the data is lost if
           each piece is observed individually, and not in sum. Due to the interrelation and
           correlation between pieces of an investigation as that investigation continues, looking
           at one piece of information may lose its full evidentiary value if it is related to another
           piece of information, yet its complement is not preserved along with the original. In
           the past, your Affiant has reviewed activity and data on digital devices pursuant to
           search warrants in the course of ongoing criminal investigations. Your affiant has
           learned from that experience, as well as other investigative efforts, that multiple
           reviews of the data at different times is necessary to understand the full value of the
           information contained therein, and to determine whether it is within the scope of the
           items sought in Attachment B. In order to obtain the full picture and meaning of the
           data from the information sought in Attachments A and B of this application, the
           Government would need to maintain access to all of the resultant data, as the
           completeness and potential of probative value of the data must be assessed within the
           full scope of the investigation. As such, your Affiant respectfully requests the ability
           to maintain the whole of the data obtained as a result of the search warrant, and to
           maintain and to review the data in the control and custody of the Government and law
           enforcement at times deemed necessary during the investigation, rather than minimize
           the content to certain communications deemed important at one time. As with all
           evidence, the Government will maintain the evidence and mirror images of the
           evidence in its custody and control, without alteration, amendment, or access by
           persons unrelated to the investigation.

 29. Based on the foregoing, and consistent with Rule 41(e)(2)(B), when persons executing the
     warrant conclude that it would be impractical to review the media on-site, the warrant I am
     applying for permits both on-site seizing, imaging and searching as well as off-site imaging
     and searching of storage media that reasonably appear to contain some or all of the evidence
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    described in the warrant, thus permitting its later and perhaps repeated examination
    consistent with the warrant. The examination may require techniques, including but not
    limited to computer-assisted scans of the entire medium, that might expose many parts of a
    hard drive to human inspection in order to determine whether it is evidence described by the
    warrant.

 30. Because several people may share the Subject Premises as a residence, it is possible that the
     Subject Premises will contain computers that are predominantly used, and perhaps owned, by
     persons who are not suspected of a crime. If it is nonetheless determined that that it is
     possible that the things described in this warrant could be found on any of those computers or
     storage media, the warrant applied for would permit the seizure and review of those items as
     well.

 31. When searching the Subject Premises, it is possible that Android and Apple brand devices
     will be found. A Touch ID sensor can recognize fingerprints. The fingerprints authorized to
     access the particular device are a part of the security settings of the device and will allow
     access to the device in lieu of entering a numerical passcode or longer alpha-numerical
     password, whichever the device is configured by the user to require. The Touch ID feature
     only permits up to five attempts with a fingerprint before the device will require the user to
     enter a passcode. Furthermore, if the device is equipped with an operating system that is
     earlier than version 9.3 (Apple), the Touch ID feature will not substitute for the use of a
     passcode or password if more than 48 hours have passed since the device has been unlocked;
     in other words, if more than 48 hours have passed since the device was accessed, the device
     will require the passcode or password programmed by the user and will not allow access to
     the device based on a fingerprint alone. If the operating system is version 9.3 or later
     (Apple), that time frame shrinks to 8 hours. Similarly, Touch ID will not allow access if the
     device has been turned on or restarted, if the device has received a remote lock command, or
     if five attempts to match a fingerprint have been unsuccessful. For these reasons, it is
     necessary to use the fingerprints and thumbprints of any device’s users to attempt to gain
     access to any Apple devices found at the Subject Premises while executing the search
     warrant. The government may not be able to obtain the contents of the Apple devices if
     those fingerprints are not used to access the Apple devices by depressing them against the
     Touch ID button. Although I do not know which of the ten finger or fingers are authorized to
     access on any given Apple device and only five attempts are permitted, I know based on my
     training and experience that it is common for people to use one of their thumbs or index
     fingers for Touch ID, and in any event all that would result from successive failed attempts is
     the requirement to use the authorized passcode or password.

 32. In addition, I know in my training and experience that many other mobile device
     manufacturers have their own version of Touch ID—that is, a fingerprint recognition feature
     that the device’s user can program and use to unlock the device. For instance, I know that
     Google Pixel phones and Google Pixel XL phones have a fingerprint sensor that can be used
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    to unlock the device. Similarly, Samsung, LG, HTC, and other manufacturers also have
    devices with fingerprint sensors.
 33. Similarly, in my training and experience I know that some applications loaded onto mobile
     devices or other electronic devices may be secured by the user with a thumbprint or
     fingerprint. Common among these types of applications are applications such as mobile
     banking apps or other financial applications, password storage applications, and secure
     communications apps, among others.
 34. Due to the foregoing, I am informing the court that law enforcement intends to press the
     fingers (including thumbs) of Reggie Dewayne Corsi, Tracey Donna Lucero-Corsi, Jacob
     Walter Corsi and Taylor Lee Anna Corsi the Touch ID sensor or other device fingerprint
     sensor of the seized device, to the extent a visual inspection of those devices reveals that the
     device has a fingerprint sensor—located pursuant to the warrants requested by this Affidavit
     for the purpose of attempting to unlock the device via Touch ID or other fingerprint sensor in
     order to search the contents (including applications) as authorized by this warrant.

     BACKGROUND REGARDING THE INTERNET AND CHILD EXPLOITATION

 35. I have been trained in the investigation of crimes involving the sexual exploitation of
     children. I also own my own computer, have personal knowledge of the operation of a
     computer, and have accessed the Internet for numerous years. Based on this training and
     knowledge, and the experience of other law enforcement personnel involved in this
     investigation, I know the following:

 36. Child pornographers can produce images using a wireless device such as a cell phone.
     Photos can also be made using cameras, then can be transferred onto another device either
     using wire or wireless technology. Images can also be uploaded to Internet-based storage
     commonly referred to as the “cloud.” Hard-copy images can also be scanned into a computer.
     Via the Internet, connection can be made to literally millions of computers around the world.
     Child pornography can be transferred quickly and easily via electronic mail or virtually
     countless other online platforms, communication services, storage services, and applications.

 37. A computer's capability to store images in digital form makes it an ideal repository for child
     pornography and other files related to the sexual abuse and exploitation of children. The
     digital-storage capacity in devices and in the “cloud” has grown tremendously within the last
     several years. Thumb drives with a capacity of 32 gigabytes are not uncommon. Flash cards
     with a capacity of 32 gigabytes are not uncommon. Hard drives with the capacity of 500
     gigabytes up to 3 terabytes are not uncommon. Phones with over 100 gigabytes in storage
     are not uncommon. Devices can store thousands of images and videos at very high
     resolution. These devices are often internet capable and can not only store, but can transmit
     images via the internet and can use the devices to store images and documents in internet or
     “cloud” storage spaces. Once this is done, there is no readily apparent evidence at the "scene
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     of the crime". Only with careful laboratory examination of electronic storage devices is it
     possible to recreate the evidence trail.

 38. With Internet access, a computer user can transport an image file from the Internet or from
     another user’s computer to his own computer, so that the image file is stored in his computer.
     The process of transporting an image file to one’s own computer is called “downloading”.
     The user can then display the image file on his computer screen, and can choose to “save” the
     image on his computer and/or print out a hard copy of the image by using a printer device
     (such as a laser or inkjet printer). Sometimes the only method to recreate the evidence trail
     of this behavior is with careful laboratory examination of the computer, modem, printer, and
     other electronic devices.

 39. Your Affiant knows from training and experience that search warrants of residences involved
     in computer or digitally related criminal activity usually produce items that tend to establish
     ownership or use of digital devices and ownership or use of any Internet service accounts
     accessed to obtain child pornography to include credit card bills, telephone bills,
     correspondence and other identification documents.

 40. Your Affiant knows from training and experience that search warrants of residences usually
     reveal items that tend to show dominion and control of the property searched, to include
     utility bills, telephone bills, correspondence, rental agreements and other identification
     documents.



                                        INVESTIGATION

 41. On 06/23/2019 Snapchat submitted CyberTipline Report 51065584 to the National Center for
     Missing and Exploited Children (NCMEC). The report identifies 31 images depicting child
     pornography being uploaded to a Snapchat account created by Email Address:
     jayzballer17@gmail.com; Screen Name/User Name: jz0676; Date of Birth ##/##/2001.
     According to Cybertipline Report 51065584, the reported user may be engaging in sexual
     activity with his 7-year old niece.1

 42. Within CyberTipline Report 51065584, NCMEC wrote, “Possible Live Victim: Reporting
     User (details in Additional Notes) indicates the reported user is engaging in sexual activity
     with his 7 year old niece.” The report stated further that a reporting party provided the
     following additional information concerning this account:

 1
  The government has not been able to confirm whether or not the residents of the Subject
 Premises have a seven year old niece.

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               a. He told me it was his seven year old nieces hand, he said she just grabbed his
                  penis.
               b. But she is seven, just a baby.
               c. He told me he was 15, but I’m not sure.
               d. His name is Jayson Adams (that’s what he told me at least).

 43. On 06/24/2019, an administrative subpoena was served to Snapchat to provide information
     pertaining to Email Address: jayzballer17@gmail.com; Screen Name/User Name: jz0676. On
     08/27/2019, Snapchat responded with the following information: ID: jz0676, Email Address:
     jayzballer17@gmail.com, Creation Date: 09/15/2017 at 17:12:28 UTC, Creation IP Address:
     2603:300b:607:5900:3cb6:dc7c:ca38:93d0, IP Login:
     2600:1:9502:77ae:bd38:61f7:d889:c128 on 04/04/2019 at 15:53:03 UTC.

 44. On 06/24/2019, an administrative subpoena was served to Google to provide information
     pertaining to Email Address: jayzballer17@gmail.com. On 07/17/2019, Google responded with
     the following information: Name: Jay Z, Email: Jayzballer17@gmail.com, Services: Gmail,
     Web & App Activity, Youtube, Created on: 09/15/2017 at 17:14:51 UTC, Terms of Service IP
     Address: 2603:300b:607:5900:3cb6:dc7c:ca38:93d0 on 09/15/2017 at 17:14:51 UTC, Google
     ID: 930041171261, No user IP logs data.

 45. On 06/24/2019, an administrative subpoena was served to Sprint to provide information
     pertaining to Snapchat login IP Address: 2600:1:9502:77ae:bd38:61f7:d889:c128 on
     04/04/2019 at 15:53:03 UTC. On 07/02/2019, Sprint responded with the following
     information: Billing Account Number: 419859598, Account Establish Date: 09/21/2017,
     Account Expiration (Cancel) Date: Active through Date Searched, Account Billing
     Address(es): Effective 01/17/2018, Tracey Lucero-Corsi, 5165 Copper Dr., Colorado
     Springs, CO 80918, Effective 10/16/2017, Tracey Lucero-Corsi, 5165 Copper Dr., Colorado
     Springs, CO 80918, Effective 09/21/2017, Tracey Lucero-Corsi, 5165 Copper Dr., Colorado
     Springs, CO 80918, Account Contact Numbers: 719-651-2971, Active Date: 06/30/2019.

 46. An Open Source (Accurint) database search conducted for 5165 Copper Dr., Colorado
     Springs, CO resulted in the following information: Tracey D. Corsi, Year of Birth (YOB):
     1973, Address: 5165 Copper Dr., Colorado Springs, CO 80918 (1999-Aug 2019), and
     Reggie Dwayne Corsi, YOB: 1972, Address: 5165 Copper Dr., Colorado Springs, CO
     80918 (1999-Aug 2019). This address is the Subject Premises for this Search Warrant
     Application.

 47. The images from Report 51065584 were requested to be reviewed for known child victims
     through the Child Victim Identification Program (CVIP). In response to this request, a
     NCMEC analyst reviewed the files and provided the results in Child Identification Report #
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    126431. The Report identified 19 image files that were known child victims.

 48. A query of Department of Motor Vehicle databases has determined that both Tracey Donna
     Lucero-Corsi and Reggie Dwayne Corsi maintain a Colorado driver’s license with a mailing
     address of 5165 Copper Dr., Colorado Springs, CO 80918.

 49. A query of Colorado DMV database resulted in the following:
                a. Black 2015 Dodge Ram Pickup bearing Colorado License Plate (COLP)
                   593XCY, registered to Reggie Corsi & Tracey Lucero-Corsi, 5165 Copper Dr.,
                   Colorado Springs, CO 80918;
                b. Green 2008 Jeep Liberty bearing COLP JCO958, registered to Reggie Corsi, 5165
                   Copper Dr., Colorado Springs, CO 80918;
                c. Black Ford F-150 Pickup bearing COLP BVP165, registered to Reggie Corsi, 5165
                   Copper Dr., Colorado Springs, CO 80918;
                d. Green Jeep Grand Cherokee bearing COLP CYJ625, registered to Reggie
                   Dwayne Corsi & Tracey Donna Lucero-Corsi, 5165 Copper Dr., Colorado
                   Springs, CO 80918.

 50. On 11/12/2019, affiant reviewed the uploaded child pornography sent by “jz0676”. Some of
     the reviewed images included an adult male and a minor prepubescent girl engaging in
     vaginal sex, what appears to be an adult males finger penetrating the vagina of a minor
     prepubescent girl, a minor prepubescent girl covered in ejaculate and an adult males penis
     and minor girls hand holding an adult male penis.


    PHYSICAL SURVEILLANCE OF 5165 COPPER DR., COLORADO SPRINGS, CO.

 51. On 11/05/2019, surveillance was conducted at the address the Subject Premises. The
     address was found to be a tan and brown ranch style single-family residence; the number
     “5165” located to the right of the garage door. Also, a black mailbox with “5165” located on
     top was observed next to the drive way leading to the residence. A black pickup truck
     bearing Colorado License Plate, 593XCY, was observed parked in the driveway. A Colorado
     DMV query was conducted on COLP 593XCY, which resulted in which resulted in
     registered owners, Tracey Lucero Corsi and Reggie Corsi.

  INDIVIDUALS WHO HAVE A SEXUAL INTEREST IN CHILDREN AND RECEIVE
               AND/OR DISTRIBUTE CHILD PORNOGRAPHY

 52. Based on my previous training and experience related to investigations involving child
     pornography and the sexual abuse of children, I have learned that individuals who create,
     possess, receive, distribute or access with intent to view child pornography have a sexual

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   interest in children and in images of children. Based upon my knowledge, experience, and
   training in child pornography investigations, and the training and experience of other law
   enforcement officers with whom I have had discussions, there are certain characteristics
   common to individuals involved in the receipt and collection of child pornography:

      A. The majority of individuals who create and collect child pornography are persons
         who have a sexual attraction to children. They receive sexual gratification and
         satisfaction from sexual fantasies fueled by depictions of children that are sexual in
         nature.

      B. The majority of individuals who create and collect child pornography collect sexually
         explicit materials, which may consist of photographs, magazines, motion pictures,
         video tapes, books, slides, computer graphics or digital or other images for their own
         sexual gratification. The majority of these individuals also collect child erotica,
         which may consist of images or text that do not rise to the level of child pornography
         but which nonetheless fuel their deviant sexual fantasies involving children. Non-
         pornographic, seemingly innocuous images of minors are often found on computers
         and digital storage devices that also contain child pornography, or that is used to
         communicate with others about sexual activity or interest in children. Such images
         are useful in attempting to identify actual minors depicted in child pornography
         images found during the execution of a search warrant. In certain cases, such images
         may also assist in determining the origins of a particular child pornography image or
         series of images.

      C. The majority of individuals who create and collect child pornography rarely, if ever,
         dispose of their sexually explicit materials and may go to great lengths to conceal and
         protect from discovery, theft, and damage their collections of illicit materials. They
         almost always maintain their collections in the privacy and security of their homes,
         cars, garages, sheds, or other secure storage location, such as on their person.

      D. The majority of individuals who create and collect child pornography often seek out
         like-minded individuals, either in person or on the Internet, to share information and
         trade depictions of child pornography and child erotica as a means of gaining status,
         trust, acceptance and support. This contact helps these individuals to rationalize and
         validate their deviant sexual interest and associated behavior. The different Internet-
         based vehicles used by such individuals to communicate with each other include, but
         are not limited to, e-mail, e-mail groups, bulletin boards, IRC, newsgroups, instant
         messaging, and other similar vehicles.

      E. The majority of individuals who create and collect child pornography maintain books,
         magazines, newspapers and other writings, in hard copy or digital medium, on the
         subject of sexual activities with children, as a way of understanding their own

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         feelings toward children, justifying those feelings and finding comfort for their illicit
         behavior and desires. Such individuals rarely destroy these materials because of the
         psychological support they provide.

      F. The majority of individuals who create and collect child pornography often collect,
         read, copy or maintain names, screen names or nicknames, addresses (including e-
         mail addresses), phone numbers, or lists of persons who have advertised or otherwise
         made known in publications and on the Internet that they have similar sexual
         interests. These contacts are maintained as a means of personal referral, exchange or
         commercial profit. These names may be maintained in the original medium from
         which they were derived, in telephone books or notebooks, on computer storage
         devices, or merely on scraps of paper.

      G. Based upon training and experience, your Affiant knows that persons in engaged in
         the production and possession of child erotica are also often involved in the
         production and possession of child pornography. Likewise, your Affiant knows from
         training and experience that persons involved in the production and possession of
         child pornography are often involved in the production and possession of child
         erotica.

      H. Based on my training, knowledge, experience, and conversations with others in law
         enforcement, I understand that an individual who possesses images and/or videos
         depicting child pornography on one digital storage device and/or Internet email or
         online storage account is likely to possess child pornography on additional digital
         storage devices and/or Internet email or online storage accounts that s/he possesses.
         Additionally, based on this training and experience, I understand that an individual
         who discusses the sexual abuse and/or exploitation of children on one digital storage
         device is likely to conduct those communications on additional digital storage devices
         that s/he possesses.

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                                          CONCLUSION

 53. Based on the investigation described above, probable cause exists to believe that at the
     residence located at the place described in Attachment A, will be found evidence, fruits, and
     instrumentalities of a violation of Title 18, United States Code, Sections 2252(a)(1), (2), and
     (4) and 2252A(a)(1), (2), (3), and (5) (described on Attachment B).

 54. I, therefore, respectfully request that the attached warrant be issued authorizing the search
     and seizure of the items listed in Attachment B.

 I declare under penalty of perjury that the foregoing is true and correct to the best of my
 information, knowledge, and belief.

                                               _s/_Jason T. McMillen _________
                                               Jason T. McMillen, Special Agent
                                               Federal Bureau of Investigation


    SUBSCRIBED and SWORN before me this 18th day of November, 2019


    ___________________________________
    UNITED STATES MAGISTRATE JUDGE



 Application for search warrant was reviewed and is submitted by AUSA David Tonini.




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